Case 3:10-cv-00940-GPC-WVG Document 239-2 Filed 06/26/13 PageID.19431 Page 1 of 7




                           EXHIBIT 1




                                                                        Exhibit 1
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Case 3:10-cv-00940-GPC-WVG Document 239-2 Filed 06/26/13 PageID.19432 Page 2 of 7


                                                                             1

       1                      UNITED STATES DISTRICT COURT

       2                     SOUTHERN DISTRICT OF CALIFORNIA

       3     TARLA MAKAEFF, ON BEHALF OF )
             HERSELF AND ALL OTHERS      )
       4     SIMILARLY SITUATED,         )
                                         )      CASE NO. 10CV0940GPC(WVG)
       5                  PLAINTIFF,     )
                                         )
       6     VS.                         )      SAN DIEGO, CALIFORNIA
                                         )
       7     TRUMP UNIVERSITY, LLC, A    )      FRIDAY,
             NEW YORK LIMITED LIABILITY )       FEBRUARY 22, 2013
       8     COMPANY, AND DOES 1 THROUGH )      3:59 P.M.
             50, INCLUSIVE,              )
       9                                 )
                          DEFENDANTS.    )
      10     ____________________________)

      11
                             TRANSCRIPT OF DISCOVERY HEARING
      12                 BEFORE THE HONORABLE WILLIAM V. GALLO
                              UNITED STATES MAGISTRATE JUDGE
      13
             APPEARANCES:
      14
             FOR THE PLAINTIFF:          ROBBINS, GELLER, RUDMAN & DOWD, LLP
      15                                 BY: THOMAS R. MERRICK, ESQ.
                                              RACHEL L. JENSEN, ESQ.
      16                                 655 WEST BROADWAY, SUITE 1900
                                         SAN DIEGO, CALIFORNIA 92101
      17
                                         ZELDES, HAEGGQUIST & ECK, LLP
      18                                 BY: AMBER LEE ECK, ESQ.
                                         625 BROADWAY, SUITE 100
      19                                 SAN DIEGO, CALIFORNIA 92101

      20     FOR THE DEFENDANTS:         YUNKER & SCHNEIDER
                                         BY: DAVID K. SCHNEIDER, ESQ.
      21                                 655 WEST BROADWAY, SUITE 1400
                                         SAN DIEGO, CALIFORNIA 92101
      22
             TRANSCRIPT ORDERED BY:      DAVID K. SCHNEIDER, ESQ.
      23
             TRANSCRIBER:                CAMERON P. KIRCHER
      24
             PROCEEDINGS RECORDED BY ELECTRONIC SOUND RECORDING;
      25     TRANSCRIPT PRODUCED BY TRANSCRIPTION.




                              COMPUTER-AIDED TRANSCRIPTION




                                                                         Exhibit 1
                                                                             - 2 -
Case 3:10-cv-00940-GPC-WVG Document 239-2 Filed 06/26/13 PageID.19433 Page 3 of 7


                                                                              3

       1     SCRIPTS -- LET ME GIVE THE COURT MAYBE A TWO-MINUTE

       2     BACKGROUND WHY THESE ARE SO IMPORTANT.

       3               IN THE THIRD AMENDED COMPLAINT -- SO THIS IS THE

       4     FOURTH FINDING THAT THEY HAVE ALLEGED THAT'S IN THE ORIGINAL

       5     COMPLAINT, ALTHOUGH IT'S THE THIRD AMENDED COMPLAINT.     WHAT

       6     THE PLAINTIFFS ALLEGE IN THIS CASE IS THAT EVERYTHING WAS

       7     SCRIPTED AT TRUMP UNIVERSITY, THAT THE SPEAKERS MADE A BUNCH

       8     OF MISREPRESENTATIONS, WHICH ARE THE BASIS OF THEIR LAWSUIT;

       9     THAT ALL OF THE PRESENTATIONS WERE EXACTLY THE SAME, THAT

      10     THEY WERE UNIFORM, THAT THEY WERE STANDARDIZED, THAT THEY

      11     USED A SPEAKER SCRIPT.

      12               SO FROM THE PLATFORM, WHEN PEOPLE WOULD GO TO THESE

      13     TRUMP UNIVERSITY PROGRAMS, THE SPEAKERS, THE PRESENTER IN

      14     THESE THREE-DAY LONG PRESENTATIONS USED A SCRIPT, AND,

      15     THEREFORE, THEY HAVE ARGUED THAT THEY DON'T HAVE TO SHOW

      16     INDIVIDUAL RELIANCE FOR A CLASS CERTIFICATION BECAUSE

      17     EVERYTHING WAS EXACTLY THE SAME.    AND THEY RELY ON A CASE

      18     CALLED LINCOLN SAVINGS, IN WHICH BROKERS WERE READING FROM A

      19     SCRIPT PROMISING THAT ADDITIONAL INVESTORS, WHEN THEY

      20     INVESTED, THEIR INVESTMENTS WOULD BE SAFE.

      21               AND THE COURT SAID THAT WHEN THERE IS AN

      22     ORCHESTRATED SCHEME AND EVERYTHING IS THE SAME AND EVERYTHING

      23     IS SCRIPTED, LITERALLY SCRIPTED, THEN YOU MAY NOT NEED TO

      24     SHOW INDIVIDUAL RELIANCE.    SO THEY FILED A MOTION FOR CLASS

      25     CERTIFICATION CONSISTENT WITH THE ALLEGATIONS IN THE THIRD




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                                                                        Exhibit 1
                                                                            - 3 -
Case 3:10-cv-00940-GPC-WVG Document 239-2 Filed 06/26/13 PageID.19434 Page 4 of 7


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       1     AMENDED COMPLAINT AND SAID THAT IT'S ALL SCRIPTED AND THE

       2     PRESENTERS AND INSTRUCTORS ALL USED SCRIPTS.

       3                SO WE SAID, ALL RIGHT, SHOW US THE SCRIPT.   BECAUSE

       4     WE DISPUTE THAT ANY OF THE PRESENTERS USED SCRIPTS.     NONE OF

       5     THE PLAINTIFFS SAID THEY EVER SAW SCRIPTS.     THEY HAVE FOUR

       6     FORMER EMPLOYEES THAT THEY REPRESENT WHO TESTIFIED THAT THEY

       7     WEREN'T AWARE OF ANY SPEAKER SCRIPTS.    WE HAVE DECLARATIONS

       8     FROM INSTRUCTORS AND MENTORS THAT SAID THERE WEREN'T ANY

       9     SCRIPTS.   BUT THEY CLAIM THAT IT'S ALL SCRIPTED.    AND SO WE

      10     SAID, OKAY, PRODUCE THE SCRIPT.    WE SENT OUT ONE REQUEST FOR

      11     PRODUCTION THAT SAID, WE WANT THE SPEAKER SCRIPT AS ALLEGED

      12     IN THE THIRD AMENDED COMPLAINT.

      13                WE CAME TO THE COURT LAST YEAR AND THE COURT SAID,

      14     FOR THAT CATEGORY, PRODUCE THE SCRIPT.    SO, INSTEAD, THEY

      15     PRODUCED A DIFFERENT SCRIPT.    WE DIDN'T ASK FOR THE SCRIPT

      16     FROM THE SOUND OF MUSIC OR FROM SATURDAY NIGHT LIVE.     WE

      17     ASKED FOR THE SPEAKER SCRIPT, BECAUSE THAT'S WHAT THEY

      18     CLAIMED WAS IT.   THAT'S THEIR BE ALL END ALL, AT LEAST THAT'S

      19     WHAT THEY CLAIMED UP UNTIL THIS ISSUE SORT OF CLAIM TO LIGHT.

      20                I WAS THINKING OF THE ANALOGY THAT IF THIS WAS THE

      21     SIMPLE FACT RED LIGHT/GREEN LIGHT, AND THE PLAINTIFF SAID

      22     IT'S GREEN, GREEN, GREEN, THE LIGHT WAS GREEN, AND WE'VE GOT

      23     PROOF OF IT.   AND WE SAID, OKAY, SHOW US A PICTURE OF THE

      24     GREEN LIGHT.   WELL, YOU ALREADY GOT THE DOCUMENT.    SHOW US A

      25     PICTURE OF THE GREEN LIGHT.    SO THEN THEY BRING US A PICTURE




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                                                                        Exhibit 1
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Case 3:10-cv-00940-GPC-WVG Document 239-2 Filed 06/26/13 PageID.19435 Page 5 of 7


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       1     OF A GREEN LIGHT FROM A DIFFERENT INTERSECTION.     NO, THAT'S

       2     NOT WHAT WE ASKED FOR.    IF YOU DON'T HAVE THE DOCUMENT, THEN

       3     THAT'S FINE.     YOU CAN SAY, WE'VE GOT OTHER TESTIMONY, WE'VE

       4     GOT EYEWITNESSES.    BUT IF YOU DON'T HAVE THE PHOTOGRAPH, THEN

       5     JUST SAY SO.

       6               SO WHAT THEY ARE NOW ARGUING IN THIS HEARING IS THAT

       7     IT'S A MERITS ARGUMENT, WHICH I'M PRESUMING MEANS THIS IS A

       8     JURY ARGUMENT.    IT'S A DISCOVERY ISSUE.   EITHER THEY HAVE THE

       9     SCRIPT OR THEY DON'T.    AND WE KNOW THAT THEY DON'T, THEY KNOW

      10     THAT THEY DON'T, AND NOW THEY ARE TRYING TO SAY, WELL, THERE

      11     IS NOTHING MAGICAL ABOUT THE WORD "SCRIPT," WHAT WE REALLY

      12     MEANT WAS THAT IT'S JUST STANDARDIZED.      WELL, IF THAT'S TRUE,

      13     THEN JUST SAY SO, SAY WE DON'T HAVE A SCRIPT, BUT THAT'S NOT

      14     OUR BEST ARGUMENT.

      15               BUT THEY ARE FIGHTING SO HARD, THAT IT CAN'T BE TRUE

      16     THAT THIS ISN'T MATERIAL TO THEIR CASE.     THEY JUST SIMPLY

      17     WON'T STATE, AFTER A REASONABLE INVESTIGATION, WE HAVE NO

      18     SPEAKER SCRIPT.    THAT WOULD BE THE END OF IT.   AND THEN WE

      19     COULD ADVISE THE DISTRICT COURT THAT THERE IS NO SCRIPT AND

      20     THAT THESE WERE ALL ORAL REPRESENTATIONS MADE BY 20, 30, 40

      21     DIFFERENT INSTRUCTORS IN DIFFERENT COURSES, AND THEN THE

      22     DISTRICT COURT WILL AT LEAST HAVE THE TRUTH ON THIS ISSUE AND

      23     CAN DECIDE WHETHER IT'S STILL APPROPRIATE FOR CLASS

      24     CERTIFICATION ON THE RELIANCE ISSUE.

      25               BUT RIGHT NOW, THE RECORD IS THAT EVERYTHING IS




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                                                                        Exhibit 1
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Case 3:10-cv-00940-GPC-WVG Document 239-2 Filed 06/26/13 PageID.19436 Page 6 of 7


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       1     SCRIPTED.    AND THEY ARGUE IT'S SCRIPTED, AND NOW THEY ARE

       2     TRYING TO FINESSE IT SAYING, OKAY, WELL, A WITNESS HAS

       3     TESTIFIED THAT THESE POWERPOINT PRESENTATIONS OVER HERE,

       4     THOSE ARE LIKE SCRIPTS.     THAT'S WHAT THEY WRITE IN THE

       5     REPORT, THEY ARE LIKE SCRIPTS.     WELL, AGAIN, IF THAT'S THEIR

       6     POINT, THEN SAY, WE DON'T HAVE ANY SCRIPTS, BUT WE HAVE

       7     POWERPOINTS.     SAY, ALL RIGHT, WHICH IS THE POWERPOINT?

       8     BECAUSE THERE IS 14 POWERPOINTS THAT WERE SUBMITTED TO THE

       9     DISTRICT COURT.    SO HAVE THEM IDENTIFY THE POWERPOINT THAT

      10     THEY SAY EVERYBODY USED.

      11                 BUT THIS WHOLE 15 MONTHS OF DISCOVERY WE'VE BEEN

      12     TRYING TO -- YOU KNOW, IT'S LAUGHABLE.     WHERE IS THE SCRIPT?

      13     WHERE IS THE POWERPOINT?     WHERE ARE YOU SAYING -- WHERE IS

      14     THE DOCUMENT OR DOCUMENTS THAT YOU'RE SAYING THAT EVERYBODY

      15     RELIED ON, EVERYBODY USED, EVERYBODY SAID THE SAME THING,

      16     EVERYBODY HEARD THE SAME THING, AND THEREFORE WE DON'T HAVE

      17     TO SHOW INDIVIDUAL RELIANCE.     THAT'S THE ARGUMENT FROM

      18     PLAINTIFFS.    WHAT WE'RE TRYING TO SAY IS THAT EITHER YOU HAVE

      19     IT OR YOU DON'T.    AND WE KNOW YOU DON'T, BUT YOU JUST WON'T

      20     BE FORTHRIGHT AND SAY, WE DON'T HAVE ANY SCRIPTS.

      21                 THE SETTER SCRIPT THAT THEY IDENTIFY IS A DIFFERENT

      22     INTERSECTION.    IT'S A PERSON IN A CALL CENTER THAT SET

      23     APPOINTMENTS.    THERE IS NO CLAIM IN THIS CASE THAT THAT

      24     SETTER SCRIPT HAS MISREPRESENTATIONS WHICH ARE THE BASIS OF

      25     THEIR LAWSUIT.    AND, IN FACT, THEY DON'T EVEN SUBMIT THE




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                                                                         Exhibit 1
                                                                             - 6 -
Case 3:10-cv-00940-GPC-WVG Document 239-2 Filed 06/26/13 PageID.19437 Page 7 of 7


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       1     SETTER SCRIPT IN THEIR MOVING PAPERS.    WE PROVIDED THAT TO

       2     THE DISTRICT COURT AND SAID, HERE IS THE ONLY SCRIPT THAT

       3     ANYBODY EVER SAID THAT WAS EVER USED.    IT WAS MADE BY

       4     SOMEBODY SETTING APPOINTMENTS.

       5               NONE OF THE SIX PLAINTIFFS WERE EVER CONTACTED BY

       6     THE CALL CENTER.    NONE OF THEM TALKED TO THE SETTER.    IT'S

       7     JUST A COMPLETE RED HERRING -- AND I HATE THAT OVERUSED

       8     EXPRESSION, BUT IT REALLY IS NOT THE ISSUE.       THE ISSUE IS

       9     WERE THERE SPEAKER SCRIPTS THAT WERE USED?     THAT'S A SCRIPT

      10     ISSUE.

      11               DO YOU WANT TO TAKE THIS ONE AT A TIME OR GO THROUGH

      12     THE NEXT TWO DOCUMENTS?

      13               THE COURT:   LET'S DO THE OTHER ONES, THE GUARANTY

      14     AND THE MENTORS.

      15               MR. SCHNEIDER:   ALL RIGHT.   THANK YOU.

      16               ON THE GUARANTY, I THINK THIS ONE IS AN EASY ONE.

      17     IF THE COURT LOOKS AT THE ALLEGATIONS IN THE THIRD AMENDED

      18     COMPLAINT, WHAT THEY ALLEGE IS THAT THE REASON THAT THE

      19     PLAINTIFFS PURCHASED THE 25,000 OR THE 35,000 THOUSAND DOLLAR

      20     PACKAGE OR PROGRAM WAS BASED ON THE REPRESENTATION THAT THEY

      21     WERE GUARANTEED TO GET THEIR MONEY BACK WITHIN THE FIRST OR

      22     SECOND DEAL.   THOSE ARE THE WORDS THAT THEY USED.

      23               SO WE SAID, OKAY, WHERE IS THE GUARANTY?      AGAIN, WE

      24     DON'T THINK ONE EXISTS.    THEY CAN SIMPLY SAY, THERE AREN'T

      25     ANY DOCUMENTS THAT SUPPORT THAT.    IT'S ALL ORAL TESTIMONY, OR




                                COMPUTER-AIDED TRANSCRIPTION




                                                                         Exhibit 1
                                                                             - 7 -
